Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2859 Filed 10/14/21 Page 1 of 14




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,
                                                     Case No. 92-cr-81058-10
v.                                                   Hon. Matthew F. Leitman

D10, EDWIN CULP,

     Defendant.
__________________________________________________________________/
          ORDER TRANSFERRING MOTION (ECF No. 938) TO
     UNITED STATES COURT OF APPEALS FOR THE SIXTH CIRCUIT

       In 1998, a jury found Edwin Culp guilty of (1) intentional killing in violation

of 21 U.S.C. § 848(e)(1)(A) and (2) using or carrying a firearm in violation of 18

U.S.C. § 924(c). Three years later, the United States Court of Appeals for the Sixth

Circuit affirmed his convictions on direct appeal. See United States v. Culp, 9 Fed.

Appx. 335 (6th Cir. 2001). Since that time, Culp has filed numerous post-appeal

motions in this Court attacking his conviction. All have been denied. He is now

back before the Court with yet another attack on his conviction – one that he calls a

“Motion Pursuant to Fed.R.Civ.Proc. 54(b) and/or 60(b)(6) to ‘Rectify a Procedural

Defect in the 28 U.S.C. § 2255 Proceedings.’” (See Mot., ECF No. 938.) For the

reasons explained below, this Court TRANSFERS Culp’s motion to the Sixth

Circuit because it is a second or successive § 2255 motion.



                                          1
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2860 Filed 10/14/21 Page 2 of 14




                                           I

                                           A

      The history of Culp’s post-appeal attacks on his conviction is both lengthy

and complicated. That history begins on March 14, 2002, when Culp filed a motion

to vacate his sentence under 28 U.S.C. § 2255 (the “Original § 2255 Motion”). (Mot.,

ECF No. 729.) In this motion, Culp argued that (1) the trial court improperly

instructed the jury regarding the elements the Government needed to prove to

convict him under 21 U.S.C. § 848(e)(1)(A); (2) he was denied the effective

assistance of counsel by his counsel’s failure to object to (a) the allegedly improper

jury instructions, and (b) the trial court’s allegedly unlawful jury selection plan; (3)

the trial court’s jury selection plan violated the U.S. Constitution and federal law;

and (4) the Government failed to prove every element required to convict under 21

U.S.C. § 848(e)(1)(A). (Id., PageID.65-98).

      On April 3, 2003 – before the Government had responded to the motion –

Culp attempted to supplement and amend his § 2255 motion to include four

additional arguments (the “Supplemental § 2255 Motion”). (Mot., ECF No. 760.) In

that motion, Culp sought to add four arguments “pertaining to the district court’s

jurisdiction during his trial.” (Id., PageID.334.)         Culp argued that (1) the

Government’s failure to prove every element necessary to convict him under 21

U.S.C. § 848(e)(1)(A) deprived the trial court of its jurisdiction; (2) the trial court’s



                                           2
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2861 Filed 10/14/21 Page 3 of 14




erroneous jury instructions constituted an improper constructive amendment to

Culp’s indictment and deprived the court of its jurisdiction over the case; (3) his

guilty plea to a federal drug conspiracy charge under 21 U.S.C. § 846 in the same

case precluded his subsequent indictment and prosecution for 21 U.S.C. §

848(e)(1)(A); and (4) this earlier guilty plea barred his subsequent indictment and

prosecution for 21 U.S.C. § 848(e)(1)(A) under the Double Jeopardy Clause of the

Fifth Amendment. (Id., PageID.335-352.).

      On June 3, 2003, United States District Judge Anna Diggs Taylor – the judge

to whom this case was assigned originally – issued a Memorandum Opinion and

Order denying relief under § 2255 (the “2003 Denial Order”). (See Op. and Order,

ECF No. 782.) In this Order, Judge Taylor did not specifically mention that Culp

had filed both the Original § 2255 Motion and the Supplemental § 2255 Motion.

Instead, she said only that Culp had filed a timely motion for relief under § 2255,

and she then identified the issues he had raised. Judge Taylor characterized Culp’s

claims as follows:

      Culp’s instant motion argues: (1) that because “every element of [21
      U.S.C. §] 848(e)(1) was not proven to a jury beyond a reasonable doubt
      … the court lacked jurisdiction to sentence the defendant under Section
      848(e)”; and (2) that he had been denied effective assistance of counsel
      because his counsel had failed to object to (a) the jury selection process
      in his case, and (b) the “trial court’s vague and improper instructions to
      the jury regarding what the government must prove in order to support
      a conviction under 21 U.S.C. § 848(e)(1)(A) and the court’s failure to
      charge the jury ‘that they must so find.’”



                                          3
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2862 Filed 10/14/21 Page 4 of 14




(Id., at PageID.408.)

      After identifying Culp’s claims, Judge Taylor held that Culp’s jurisdictional

arguments about his § 848(e)(1)(A) conviction “rel[ied] upon an incorrect premise”

and were without merit. (Id., PageID.409.)          She further held that Culp’s

§ 848(e)(1)(A) arguments had been “raised on direct appeal” and could not be

“resurrected in his subsequent § 2255 motion.” (Id.) Likewise, Judge Taylor rejected

Culp’s ineffective assistance of counsel claims. Regarding counsel’s alleged failure

to object to the jury selection plan, Judge Taylor concluded that Culp failed to

establish actual prejudice. (Id., PageID.411-412.) Regarding counsel’s alleged

failure to object to the jury instructions, Judge Taylor held that (1) Culp failed to

establish actual prejudice, and (2) Culp had raised the same argument on direct

appeal and could not raise it again through a § 2255 motion.1 (Id., PageID.412-413.)

                                         B

      Five years later, on May 13, 2008, Culp moved under Federal Rule of Civil

Procedure 60(b)(6) to vacate the 2003 Denial Order. (Mot., ECF No. 851.) Culp


1
  On July 24, 2003, after Judge Taylor entered the 2003 Denial Order, Culp filed a
notice of appeal and an application for a certificate of appealability. (See Notice,
ECF No. 769). On September 11, 2003, Judge Taylor denied Culp’s request for a
certification of appealability. (Order, ECF No. 778.) Culp did not pay the required
appeal filing fee (see Notice, ECF No. 773), and the United States Court of Appeals
for the Sixth Circuit consequently dismissed his appeal. (See Sixth Circuit Order,
ECF No. 781.) Culp subsequently filed a petition for a writ of certiorari with the
United States Supreme Court (see Letter, ECF No. 806), which the Court denied.
(See Order, ECF No. 811.)

                                         4
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2863 Filed 10/14/21 Page 5 of 14




sought relief from the 2003 Denial Order on the ground that Judge Taylor had failed

to address the claims he presented in the Supplemental § 2255 Motion. (See id.) In

Culp’s words: “The ‘amended complaint’ that replaced the original was not

adjudicated and no order was issued denying the motion to amend.” (Id.,

PageID.857.)

      On November 7, 2008, Judge Taylor entered an opinion and order denying

Culp’s motion. (See Op. and Order, ECF No. 858.) Judge Taylor held that Culp

failed to file the motion “within a reasonable time after” the 2003 Denial Order. (Id.,

PageID.977.) She also rejected Culp’s claim that, in the 2003 Denial Order, she had

neglected to rule upon the issues he had presented in the Supplemental § 2255

Motion. She said: “It is clear that the issues raised by [Culp] in the supplemental

§ 2255 motion have already been adjudicated by th[e] court in the June 3, 2003

Order.” (Id., PageID.977.)

      Culp subsequently sought a certificate of appealability from the Sixth Circuit,

and that court denied his request. The court explained that Culp had failed to show

any error in Judge Taylor’s ruling:

      In his motion to vacate sentence, Culp claimed that: 1) because “every
      element of [21 U.S.C. §] 848(e)(1) was not proven to a jury beyond a
      reasonable doubt . . . the court lacked jurisdiction[”] to sentence him;
      and 2) trial counsel rendered ineffective assistance. Thereafter, Culp
      filed a supplemental motion to vacate sentence claiming that because
      he was not charged and convicted of certain elements under 21 U.S.C.
      § 848, the district court lacked jurisdiction to sentence him under
      § 848(e)(1)(A). The district court denied the motion to vacate sentence

                                          5
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2864 Filed 10/14/21 Page 6 of 14




      and found no grounds upon which to grant Culp a certificate of
      appealability. On May 13, 2008, nearly five years after his § 2255
      motion, Culp filed his motion pursuant to Rule 60(b)(6) alleging that
      the district court failed to consider his supplemental motion when the
      court denied his original § 2255.

      The court hereby denies Culp a certificate of appealability because he
      has not made a substantial showing of the denial of a federal
      constitutional right. See 28 U.S.C. § 2253(c)(2); Barefoot v. Estelle, 463
      U.S. 880, 893 (1983). Culp failed to satisfy the required showing by
      demonstrating that jurists of reason could disagree with the district
      court’s resolution of his constitutional claims or that jurists could
      conclude the issues presented are adequate to deserve encouragement
      to proceed further. Miller-El v. Cockrell, 537 U.S. 322, 327 (2003)
      (citing Slack v. McDaniel, 529 U.S. 473, 484 (2000)). The motion was
      untimely filed under Fed. R. Civ. P. 60(b). A Rule 60(b)(6) motion must
      be made “within a reasonable time.” Culp waited to file his immediate
      motion nearly five years after the district court denied his motion to
      vacate sentence.

(Order, ECF No. 868, PageID.1002-03.)

                                          C

      Nearly seven years later, Culp filed a flurry of motions again attacking the

2003 Denial Order.      First, on April 13, 2015, he filed a “Motion Under

Fed.R.Civ.Proc. 60(b)(6) to ‘Protect the Integrity of the § 2255 Proceedings’” (the

“Motion to Protect”). (Mot., ECF No. 895.) In this motion, Culp again contended

that Judge Taylor had failed to adjudicate all of the claims presented in the

Supplemental § 2255 Motion when she entered the 2003 Denial Order. More

specifically, he again asserted that Judge Taylor “did NOT [sic] rule on Petitioner’s




                                          6
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2865 Filed 10/14/21 Page 7 of 14




Fifth Amendment Double Jeopardy claim” in the 2003 Denial Order.2 (Id.,

PageID.1151-1152.)      He requested a ruling “on the merits of [Culp’s] Fifth

Amendment Double Jeopardy claim.” (Id., PageID.1151.)              Additionally, Culp

argued Judge Taylor “erred . . . by refusing to consider Petitioner’s IAC and IAAC

claims on their merits.” (Id., PageID.1163.)       He also asserted a host of new

ineffective assistance of counsel claims, alleging trial counsel failed to object to his

indictment, prosecution, and ultimate conviction: (1) on Double Jeopardy grounds;

(2) on the grounds that it violated his plea agreement; (3) for a deficient indictment;

and (4) for charging him under an unconstitutional statute. (Id., PageID.1166.)

Finally, Culp argued his motion “should not be deemed a second or successive

§ 2255 motion,” and instead was a “true Rule 60(b)(6) motion,” because Judge

Taylor’s failure to rule on his Double Jeopardy claim meant there had not been a

final judgement on his claims under Federal Rules of Civil Procedure 54(b) and 58.

(Id., PageID.1151-1152, 1165.)

      Six months later, on October 13, 2015, Culp filed two additional motions: (1)

a “Motion to Revise and Amend the [2003 Denial Order] Pursuant To Federal Rule

Of Civil Procedure 54(b) For The Purpose Of Resolving All 28 U.S.C. § 2255

Claims Presented To The Court” (the “2015 54(b) Motion”) (see Mot., ECF No.



2
 Culp conceded, however, that Judge Taylor “did rule on [his] jurisdictional claims.”
(Mot., ECF No. 895, PageID.1151.)

                                           7
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2866 Filed 10/14/21 Page 8 of 14




903), and (2) “Motion For Relief From The [2003 Denial Order] Pursuant To Federal

Rule Of Civil Procedure 60(b)(4) And 60(b)(6)” (the “2015 60(b) Motion”) (see

Mot., ECF No. 904). In the 2015 54(b) Motion, Culp “request[ed] that the Court

revise and/or amend” the 2003 Denial Order to “resolv[e] all claims presented to the

Court in [Culp’s] Amended/Supplemental 28 U.S.C. § 2255 pleading.” (Mot., ECF

No. 903, PageID.1200). He argued such relief was available under Rule 54(b)

because the 2003 Denial Order “failed to resolve all claims for relief presented in

[Culp’s] Amended/Supplemental 28 U.S.C. § 2255 pleading” and therefore was not

a final judgment. (Id.)    In the 2015 60(b) Motion, Culp moved under Rules

60(b)(4 and 6) for relief from the 2003 Denial Order. (See Mot., ECF No. 904.) He

again asserted he was entitled to relief because the 2003 Denial Order “failed to rule

completely and dispositively on all claims presented for review.” (Id., PageID.1213.)

Along with the two motions, Culp filed a “Notice Of Filing Of Amended Motion To

Alter, Vacate, Revise Or Amend The [2003 Denial Order].” (See Notice, ECF No.

902.) In that notice, Culp said that the two newly filed motions “supersede[d] the

previously docketed motion [ECF No. 895]” and were “submitted for the purpose of

clarifying [Culp’s] claims to the Court.” (Id., PageID.1193-1194.)

      On January 11, 2016, United States District Judge Marianne O. Battani – who

had inherited Culp’s case from Judge Taylor – entered an order addressing Culp’s

motions. (See Order, ECF No. 908). She first took up Culp’s Motion to Protect –



                                          8
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2867 Filed 10/14/21 Page 9 of 14




the motion in which Culp contended that Judge Taylor had failed to address his

Double Jeopardy claims in the 2003 Denial Order. Judge Battani concluded that

Culp’s motion was not properly characterized as an attempt to protect the integrity

of the § 2255 proceedings. (See id., PageID.1235.) Instead, she regarded the motion

as an attempt to present a new claim for relief that had not been properly presented

to the court in 2003. (See id.) More specifically, Judge Battani held that the Double

Jeopardy claim presented in the motion “was never before the court in 2003,”

because, at that time, Culp had “merely filed a motion requesting leave to amend his

§ 2255 petition to add, among other things, a double jeopardy argument (Doc. No.

760, filed 4/3/04), which was never granted.”3 (Id.)

      Given her conclusion that Culp’s Motion to Protect presented his Double

Jeopardy claim for the first time, Judge Battani ruled that it should be treated as a

second or successive § 2255 petition. (See id., PageID.1236.) Consequently, she

transferred the motion to the United States Court of Appeals for the Sixth Circuit.




3
  Judge Battani’s conclusion, that Culp’s Double Jeopardy claim was not before the
Court in 2003 because it was presented in the Supplemental § 2255 Motion (which
was not granted), seems to be in tension with Judge Taylor’s conclusion in 2008 that
the 2003 Denial Order did address all the claims that Culp had presented in the
Supplemental § 2255 Motion.

                                         9
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2868 Filed 10/14/21 Page 10 of 14




(Id.) She then denied as moot Culp’s two other motions that sought to amend the

Motion to Protect (the 2015 54(b) Motion and the 2015 60(b) Motion).4 (Id.)

      On January 31, 2017, the Sixth Circuit denied Culp authorization to file a

successive § 2255 motion. (See Order, ECF No. 912.) The court first rejected Culp’s

argument that “the district court should not have re-characterized his [Motion to

Protect] as a second or successive motion to vacate.” (Id., PageID.1250.) The court

explained that “[a] Rule 60(b) motion that attempts to add a new ground for relief or

that attacks a federal habeas court’s previous resolution of a claim on the merits is

properly construed as a § 2255 motion.” (Id.) And the court concluded that under

that standard, Culp’s Motion to Protect was properly treated as a second or

successive § 2255 motion:

      While Culp included the words “to ‘protect the integrity of the § 2255
      proceedings’” to the title of his motion, he merely attacks the resolution
      of the claims he set forth in his initial § 2255 motion or of his attempts
      to raise new claims that were in a proposed amendment that the district
      court did not permit. Thus, despite its title, the district court correctly
      determined that Culp’s Rule 60(b)(6) motion “was actually a second or
      successive § 2255 motion in disguise.” In re Nailor, 487 F.3d at 1023.

(Id.) The court then declined to permit Culp to file a second or successive § 2255

motion:

      Before we may grant his request to file a second or successive § 2255
      motion, Culp must make a prima facie showing that his proposed claims
      rely on either “(1) newly discovered evidence that, if proven and

4
 Culp subsequently filed a motion for reconsideration of Judge Battani’s order,
and she denied that motion. (Mot., ECF No. 909; Order, ECF No. 925.)

                                          10
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2869 Filed 10/14/21 Page 11 of 14




      viewed in light of the evidence as a whole, would be sufficient to
      establish by clear and convincing evidence that no reasonable fact-
      finder would have found the movant guilty of the offense; or (2) a new
      rule of constitutional law, made retroactive to cases on collateral review
      by the Supreme Court, that was previously unavailable.” 28 U.S.C. §
      2255(h); see also 28 U.S.C. § 2244(b)(3)(C). Culp meets neither
      criterion. Accordingly, Culp’s motion for leave to file a second or
      successive motion to vacate his sentence is DENIED.

(Id., PageID.1250-1251.)

                                          D

      In the motion now before the Court, filed on March 14, 2019, Culp once again

moves pro se under Rules 54(b) and 60(b)(6) to vacate the 2003 Denial Order. (Mot.,

ECF No. 938.) Culp re-asserts two arguments as to how Judge Taylor erred in the

2003 Denial Order. First, he once again argues that Judge Taylor “erroneously

procedurally barred [Culp] from a merits determination of the IAC claims presented

in his [original] § 2255 motion[] that were raised on direct appeal.” (Id.,

PageID.1673.) Second, he argues for a third time that Judge Taylor “failed to rule

on the merits of” the four arguments raised in his amended § 2255 motion. (Id.,

PageID.1674-1676.)

      In response, the Government asserts Culp’s motion “is an improper 28 U.S.C.

§ 2255 motion in disguise.” (Response, ECF No. 1001, PageID.2756.) Moreover,

the Government argues that Judge Taylor adjudicated both Culp’s IAC claims and

the claims in the Supplemental § 2255 Motion on the merits. (Id., PageID.2769-

2761.) Finally, the Government argues that Culp has not satisfied the requirements

                                         11
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2870 Filed 10/14/21 Page 12 of 14




for relief under Rules 54(b) or 60(b)(6). The Government contends that there are no

exceptional or extraordinary circumstances justifying relief and that Culp’s motion

is not timely. (Id., PageID.2761.)

                                         II

      As noted above, Culp repeatedly has sought relief from the 2003 Denial Order

on the primary ground that he advances in his current motion – namely, that Judge

Taylor failed to consider and rule upon the claims presented in the Supplemental

§ 2255 Motion. And the two district judges who previously heard this argument

rejected it – albeit for different reasons. Judge Taylor ruled in 2008 that (1) in the

2003 Denial Order, she did consider and reject the claims in the Supplemental § 2255

Motion, and (2) Culp’s challenge to the 2003 Denial Order came too late. (See Order,

ECF No. 858.) Judge Battani concluded, in contrast, that the claims in the

Supplemental § 2255 Motion were never before Judge Taylor, and that any effort to

raise them amounted to an effort to file a second or successive § 2255 Motion. (See

Order, ECF No. 908.) And the Sixth Circuit concluded that both judges got it right.

(See Order, ECF No. 868; Order, ECF No. 912.)

      No matter which prior ruling controls, Culp is not entitled to relief from this

Court. If Judge Taylor’s 2008 ruling controls, then Culp cannot now raise yet again

his claim that the 2003 Denial Order did not address the claims in the Supplemental

§ 2255 Motion. Judge Taylor rejected that argument in her 2008 ruling, Culp



                                         12
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2871 Filed 10/14/21 Page 13 of 14




attempted to appeal that ruling, and the Sixth Circuit denied a certificate of

appealability because Culp failed to make “a substantial showing of the denial of a

federal constitutional right.” (Order, ECF No. 868, PageID.1003.) Given the Sixth

Circuit’s refusal to entertain Culp’s attack on Judge Taylor’s 2008 ruling, Culp

cannot show that he is entitled to relief in the event that Judge Taylor’s ruling

controls.

      If Judge Battani’s ruling controls, then Culp’s motion must be transferred to

the Sixth Circuit. Judge Battani concluded that any effort by Culp to assert a claim

raised in his Supplemental § 2255 Motion would amount to a second or successive

§ 2255 Motion (see Order, ECF No. 908), and the Sixth Circuit affirmed that

conclusion. (See Order, ECF No. 912). Thus, under Judge Battani’s ruling, Culp’s

current request that the Court adjudicate the claims in his Supplemental § 2255

Motion must be treated as a second or successive § 2255 Motion. And the Court

cannot consider the merits of such a motion unless and until the Sixth Circuit grants

Culp permission to proceed with the motion.

      Out of an abundance of caution, this Court will follow Judge Battani’s

approach, deem Culp’s motion to be a second or successive § 2255 Motion, and

transfer the motion to the Sixth Circuit. Proceeding in this manner will give Culp

another opportunity to make his case to the Sixth Circuit and will provide the Sixth

Circuit another opportunity to review this case and to determine whether to grant



                                         13
Case 2:92-cr-81058-MFL ECF No. 1008, PageID.2872 Filed 10/14/21 Page 14 of 14




Culp permission to proceed with his motion. Such a determination is properly made

by the Court of Appeals. See Sims v. Terbush, 111 F.3d 45, 47 (6th Cir. 1997); see

also U.S. v. Cottage, 307F.3d 494, 500 (6th Cir. 2002).

                                        III

      For all the reasons stated above, Culp’s motion is TRANSFERRED to the

United States Court of Appeals for the Sixth Circuit pursuant to 28 U.S.C. § 1631

for authorization under 28 U.S.C. § 2244(b)(3)(A) for filing as a successive § 2255

petition.

      IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE

Dated: October 14, 2021

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on October 14, 2021, by electronic means and/or ordinary
mail.

                                      s/Holly A. Monda
                                      Case Manager
                                      (810) 341-9764




                                        14
